                                  CASE 0:20-mj-00384-HB Doc. 10 Filed 06/18/20 Page 1 of 1

                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                             )    COURT MINUTES – CRIMINAL (via video
                                                      )               conference)
                                   Plaintiff,         )                BEFORE: David T. Schultz
                                                      )                  U.S. Magistrate Judge
   v.                                                 )
                                                      )   Case No:            20-mj-384 HB
Montez Terriel Lee,                                   )   Date:               June 18, 2020
                                                      )   Court Reporter:     Carla Bebault
                                   Defendant.         )   Courthouse:         Minneapolis
                                                                              Video Conference
                                                          Time Commenced:     3:20 p.m.
                                                          Time Concluded:     4:15 p.m.
                                                          Time in Court:      55 minutes


                 X PRELIMINARY HRG ONLY                           X DETENTION HRG ONLY
                    Time in Court Prelim/Det: 30 minutes/ 25 minutes

APPEARANCES:

   Plaintiff: Thomas Calhoun-Lopez, Assistant U.S. Attorney
   Defendant: Andrew Garvis,
                  X CJA


On            X Complaint

X Deft Ordered Detained - Govt to submit proposed order

X Probable cause found. Deft bound over to District Court of Minnesota


Additional Information:

Defendant consents to this hearing via video conference.

Liane Sellner testified.



                                                                                                s/Sarah Erickson
                                                                                  Signature of Courtroom Deputy




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